 

Case 1:20-cv-10487-ALC Document12 Filed 01/07/21 Page 1of1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MATTEL, INC.,
Plaintiff,

- against - : 20 Cry.
‘THE ENTITIES DOING BUSINESS AS
POWERWHEELSTOYS AT THE URL
WWW.POWERWHEELSTOYS.COM,
JOHN DOE NOS. 1-5 AND ABC
ENTITY NOS. 1-5,

Defendants.

ORDER TEMPORARILY SEALING DOCKET
On this day, the Court considered Plaintiff's application to temporarily seal the docket in
this action and it is hereby ORDERED that the Clerk of the Court shall maintain the documents
in this action under seal pending further order of the Court.
It is further ORDERD that the Clerk of the Court shall have the authority to provide
Plaintiff with certified copies of the any orders entered in this action while under seal.

Signed this 11th day ef December 2020.
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